Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 1 of 29

DAVID EDGE, SR.
14206 Duckett Road
Brandywine, MD 20613,

and

ROBERT DIETRICH
625 Hartwood Lane
Edgewood, MD 21040,

On behalf of themselves and all others
similarly situated,

Plaintiffs,

V.

EQUABLE ASCENT FINANCIAL, LLC
1120 West Lake Cook Road, Suite B
Buffalo Grove, IL 60089

Serve On:

State Department of Assessments and
Taxation

Corporate Charter Division

301 W. Preston St., Room 801
Baltimore, MD 21201,

STILLMAN LAW OFFICE, LLC
110 West Road, Suite 217
Towson Md 21204

Serve On:

INCORP SERVICES, INC.

1519 YORK ROAD
LUTHERVILLE MD 21093,

STILLMAN, P.C., d/b/a STILLMAN LAW
OFFICE

30057 Orchard Lake Road, Suite 200
Farmington Hills, MI 48334

Serve On:

CORPORATE CREATIONS NETWORK,

INC.
2 WISCONSIN CIRCLE, #700

*

IN THE CIRCUIT COURT FOR

MONTGOMERY COUNTY

Case No. VBC 33

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AUG 18 2021

Clerk of the Circuit Court
Montgomery County, Ivid.
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 2 of 29

CHEVY CHASE, MD 20815 *
And *
STUART LEBENBOM, ESQ. *
2701 Troy Center Drive, Suite 450
Troy, Michigan 48084, *
Defendants. *
* * * * * * *& * * *& * * *

CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
1. This Complaint challenges Defendants’ consumer debt collection methods,
which involved repeated violations of the law while collecting and attempting to

collect consumer debts from Plaintiffs and the members of the proposed Class defined

below.

2. In particular, Defendant Equable Ascent, LLC (“Equable”) is in the
business of collecting claims that it purports to own, which were in default when
Equable acquired those claims. As a result, it is a “collection agency” under the
Maryland Collection Agency Licensing Act, Md. Code Ann., Bus. Reg. §§ 7-101 et seq
(“MCALA”); see also id. at §7-101(d)(1) (i).

3. But Equable is not licensed as a collection agency in Maryland.

4. Accordingly, Equable is not permitted to act as a collection agency, and may
not directly or indirectly engage in collection activity in Maryland.

5. Nevertheless, Equable collected, and solicited, numerous consumer claims

from Plaintiffs, and the members of the Class defined below (the “Class”), without the

license required by Maryland law.
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 3 of 29

6. At all times relevant to this Complaint, Equable knew that it did not have
a license, and knew that it was required to obtain a license to conduct its debt
collection activities in this state. Indeed, Equable was, at one time, licensed as a
collection agency in Maryland, but that license expired in 2014. Despite knowledge
that it needed a license, Equable continued to act as a debt collector, and engaged in
the business of collecting consumer debts from Plaintiffs and the members of the
Class, without a license, and within the three years prior to the filing of this
Complaint.

7. Defendant Stillman Law Office, LLC (“SLO”), its successor Stillman, P.C.
(“SPC”) (SLO and SPC are, collectively, “Stillman”), and Defendant Stuart Lebenbom,
Esq. (“Lebenbom”), facilitated Equable’s collection activity in violation of the MCALA,
and engaged in acts violating Maryland law on Equable’s behalf.

8. Stillman, a law firm, and Lebenbom, an attorney, represented Equable in
collecting consumer debts from Plaintiffs and Class members, while Equable lacked
the required collection agency license.

9. At the time of the collection activity challenged in this Complaint, Equable,

Stillman, and Lebenbom knew that Equable was not licensed as a collection agency

under MCALA.

10. Nevertheless, the collection methods of Equable, Stillman and Lebenbom
perpetrated against Plaintiffs and the Class included collecting money from Plaintiffs
and Class members for Equable on consumer claims, even though Equable was not

licensed to act as a collection agency and was not permitted to collect money from
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 4 of 29

Plaintiffs or other Class members. The Defendants’ unlawful collection methods
claimed, attempted and threatened to enforce a right which Equable, Stillman, and
Lebenbom knew did not exist. Equable, Stillman, and Lebenbom each attempted and
threatened to enforce the purported right of Equable to engage in the business of a
collection agency, and to collect money from Plaintiffs and Class members on
consumer claims, when Equable was not licensed as a collection agency and had no
right to collect from Plaintiffs or the Class without a license.

11. Equable, Stillman, and Lebenbom had no right to collect or to attempt to
collect debts allegedly owed by Plaintiffs and the Class to Equable while Equable
lacked the license required to act as a collection agency in Maryland. Equable’s,
Stillman’s, and Lebenbom’s activities in Maryland, in which they attempted to collect
and collected money from Plaintiffs and the Class, for Equable, are and were illegal.

12. For example, Equable’s, Stillman’s and Lebenbom’s actions alleged in this
Complaint violated the Maryland Consumer Debt Collection Act, Md. Code Ann.,
Com. Law § 14-201 et seq. (‘“MCDCA”), the Maryland Consumer Protection Act, Md.
Code Ann., Com. Law §13-101 et seq. (“CPA”), and give rise to claims for declaratory
judgment under the Maryland Declaratory Judgment Act, Md. Code Ann., Cts. & Jud.
Pro. § 3-401 et seq. (‘DJA”) and for money had and received, negligence, and unjust
enrichment.

13. In addition, Stillman and Lebenbom’s actions alleged in this Complaint

violated the federal Fair Debt Collection Practices Act, 15 U.S.C.A. §1692 et seq.

(“FDCPA”).
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 5 of 29

14. Defendants’ unlawful actions have caused Plaintiffs damages. Among other
things, Defendants have collected money from Plaintiffs which Defendants had and
have no right to collect. In addition, Defendants’ unlawful collection activities have
caused Plaintiffs mental anguish and emotional distress.
15. Congress enacted the FDCPA, and the Maryland Legislature enacted the
MCDCA, to remedy the widespread use of abusive, deceptive, and unfair debt
collection practices by debt collectors, practices which have caused unnecessary
personal bankruptcies, marital instability, loss of employment, and invasions of
privacy.
16. Enforcement of the FDCPA and MCDCA is necessary to protect the rights
of consumer debtors, and to ensure that debt collectors who comply with the FDCPA
and MCDCA, and who do not use abusive debt collection practices, are not placed at
a competitive disadvantage.
17. Accordingly, Plaintiffs bring claims on behalf of a Class that consists of:
All Maryland consumers from whom Equable — or Stillman
and/or Lebenbom on Equable’s behalf or purported behalf
— collected or sought to collect money, within three years
prior to the filing of this Complaint.

18. Plaintiffs also bring claims on behalf of a Subclass, which consists of:
All Class members from whom Stillman and/or Lebenbom,

on Equable’s behalf or purported behalf, collected or sought
to collect money, within one year prior to the filing of this

Complaint.

19. Excluded from the Class and Subclass are all employees, officers and

directors of Defendants and any parent or subsidiary companies and predecessors
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 6 of 29

and successors of Defendants, and all employees of the Court.

Parties
20. Plaintiffs are each natural persons who are residents and citizens of the
State of Maryland.
21. Equable is or was a Delaware limited liability company with its principal

place of business in Illinois.

22. SLO is or was a Maryland limited liability company law firm with its
principal place of business in Maryland.

23. SPCis a Michigan corporation law firm with its principal place of business
in Michigan. SPC acquired the assets of SLO. Nevertheless, SPC is liable for the debts
of SLO. SPC expressly or impliedly assumed the liability of SLO, the acquisition of
SLO’s assets by SPC amounted to a consolidation or merger, SPC is a mere
continuation of SLO, or the transaction was entered into fraudulently to escape
liability for debts. For example, SPC and its employees and agents continue to do
business in Maryland under SLO’s name. Both SPC and SLO have collected money
from each Plaintiff, at the same address for both SPC and SLO, and both SPC and
SLO have collected that money under the same trade name, “Stillman Law Office” —
a trade name which has been registered to both SPC and SLO over the period of time
that SPC and SLO have engaged in the activity challenged in this Complaint.
“Stillman Law Office” is a trade name which was originally registered to SLO. After
SLO cancelled its registration of the “Stillman Law Office” trade name in May 2021,

SPC then, within that same month, registered the same trade name as its own. The
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 7 of 29

same person — Michael Stillman — is or was a member of SLO, signed the articles of
cancellation of SLO, signed the cancellation of SLO’s registration of the trade-name
“Stillman Law Office,” is an owner and/or officer and President of SPC, signed the
qualification of SPC to do business in Maryland, and also signed the registration of
SPC’s registration of the trade name “Stillman Law Office.” SPC exercised rights of
SLO. For example, money was collected from each Plaintiff under a writ of
garnishment which was requested by the “Stillman Law Office” when that trade
name was registered to SLO, and then SPC collected money under the same writ of
garnishment, acting as the “Stillman Law Office,” when that name was owned by
SPC. SPC maintained similar management and ownership as SLO, but SPC and SLO
are essentially the same corporate entity. Lebenbom was an instrumental employee
of both SLO and SPC, is an attorney of record in each of Equable’s lawsuits against
Plaintiffs, and has acted in those cases on behalf of both SLO and SPC. Lebenbom is
or was also a member of SLO, and is an owner of SPC.

24. Lebenbom is a natural person who is an attorney licensed in Maryland.

Jurisdiction and Venue

25. This Court has subject-matter jurisdiction over this case pursuant to Md.
Cts. & Jud. Proc. Code Ann. §§ 1-501 and 4-402(e)(2).

26. This Court has personal jurisdiction pursuant to Md. Cts. & Jud. Proc. Code
Ann. §§ 6-102 and 6-103(b), as each of the Defendants transact business and perform
work and service in the State of Maryland, contract to supply services in the State of

Maryland, and regularly do and solicit business and engages in other persistent
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 8 of 29

courses of conduct in the State of Maryland, including the business described in this
Complaint. For example, Equable, Stillman, and Lebenbom each collect and seek to
collect debts through the Courts of Maryland, including courts located in Montgomery
County, Maryland.

27. Venue is proper in this Court under Md. Cts. & Jud. Proc. Code Ann. §§ 4-
402 and 6-201, as the Plaintiffs seek a declaratory judgment, and as this case is a
proposed class action and the aggregated amount in controversy in this case exceeds
$5,000.00; additionally, the amount in controversy exceeds $15,000.00 and Plaintiffs
demand a jury trial; and, because Defendants carry on a regular business and
habitually engage in vocation in Montgomery County, Maryland. Among other
things, Equable, Stillman, and Lebenbom each currently seek to collect debts through
the Courts of Maryland, including courts located in Montgomery County, Maryland.

Facts

28. Equable is not licensed as a collection agency in the State of Maryland, and
has not been licensed as a collection agency in the State of Maryland at any time
during the past three years.

29. Equable obtained a Maryland collection agency license on May 20, 2010.
That collection agency license expired on May 20, 2014.

30. Yet, at all times relevant to this complaint, Equable engaged in the business
of a collection agency in Maryland — that is, Equable engaged, directly or indirectly,

in the business of collecting consumer claims it owned, or collecting for or soliciting

from another, consumer claims.
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 9 of 29

31. Equable’s activity in Maryland as an unlicensed collection agency is
unlawful.

32. For example, Equable unlawfully sought to collect consumer claims from
Plaintiffs and all Class members within three years prior to the filing of this
Complaint, when Equable was not licensed in Maryland as a collection agency.

33. The debt Equable sought to collect from Plaintiff Edge was a consumer
claim, as it was for money owed or said to be owed by Plaintiff Edge, a resident of
Maryland, and arose from a transaction in which, for a family, household, or personal
purpose, Mr. Edge sought or got credit, money, personal property, real property, or
services — namely, the transactions at issue involved the use of a personal credit card
for personal, family, and household purposes.

34.Equable obtained a judgment against Plaintiff Edge in 2013 for this
consumer claim. However, since that time, and within the last three years (indeed,
within the last year), Equable has undertaken unlawful methods to collect on this
consumer claim. In particular, Equable, through Stillman and Lebenbom, obtained a
writ of garnishment in January, 2021, seeking to collect money from Plaintiff Edge
in payment of this consumer claim.

35. Equable, Stillman, and Lebenbom have, in fact, collected money — more
than $4,000.00 — from Plaintiff Edge within the last year, for Equable’s consumer
claim against Plaintiff Edge, while Equable was not licensed as a collection agency.

36.Equable, SLO and Lebenbom collected money from Plaintiff Edge

between January and May, 2021, on account of his purported debt to Equable.
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 10 of 29

Thereafter, Equable, SPC and Lebenbom collected money from Plaintiff Edge on
account of the same purported debt. All of the Defendants’ collection of money from
Plaintiff Edge which is challenged in this Complaint occurred while Equable was not
licensed as a collection agency.

37. The debt Equable sought to collect from Plaintiff Dietrich was similarly
a consumer claim, as it was for money owed or said to be owed by Plaintiff Dietrich,
a resident of Maryland, and arose from a transaction in which, for a family,
household, or personal purpose, the resident sought or got credit, money, personal
property, real property, or services — namely, the transactions at issue involved the
use of a personal credit card for personal, family, and household purposes.

38. Equable obtained a judgment against Plaintiff Dietrich in 2012 for this
consumer claim. However, since that time, and within the last three years (indeed,
within the last year), Equable has undertaken unlawful methods to collect this
consumer claim. In particular, Equable, through Stillman and Lebenbom, obtained a
writ of garnishment in January, 2021, seeking to collect money from Plaintiff Dietrich
in payment of this consumer claim.

39. Equable, Stillman, and Lebenbom have, in fact, collected money — more
than $1,000.00 — from Plaintiff Dietrich within the last year, for Equable’s consumer
claim against Plaintiff Dietrich, while Equable was not licensed as a collection
agency.

40.Equable, SLO and Lebenbom collected money from Plaintiff Dietrich

between January and May, 2021, on account of his purported debt to Equable.

10

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Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 11 of 29

Thereafter, Equable, SPC and Lebenbom collected money from Plaintiff Dietrich on
account of the same purported debt. All of the Defendants’ collection of money from
Plaintiff Dietrich which is challenged in this Complaint occurred while Equable was
not licensed as a collection agency.

41.Defendants’ collection activities concerning Plaintiffs and the Class
involve consumer claims under MCALA §7-101(f), as the Defendants, through their
collection methods including requesting and issuing and serving writs of garnishment
to collect money for Equable, sought payment of money owed or said to be owed by a
resident of the State, which alleged debts arose from transactions in which, for family,
household, or personal purposes, the resident sought or got credit, money, personal
property, real property, or services. In particular, the debts collected by Defendants

from Plaintiffs and Class members concerned alleged debts which arose from

consumer credit services.

42. Equable’s business in Maryland, including its activities in its dealings
with Plaintiff and Class members, is the business of collecting consumer claims which
were in default when Equable acquired them. See MCALA §7-101(d).

43.In particular, Equable is a consumer debt purchaser. Each of the debts
of Plaintiffs and Class members was a debt on a credit account or accounts which was
or were in default when Equable purchased the debts. These debts of Plaintiffs and
Class members constitute consumer claims. Equable collected these consumer claims
from Plaintiffs and Class members through methods which included demanding,

issuing and serving writs of garnishment, and utilizing those demands, threats, and

11
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 12 of 29

writs of garnishment to effect the collection of money on the accounts of Plaintiffs and.
Class members.

44.Equable violated the MCALA by engaging in collection activity in
Maryland without the required license. Equable attempted to collect, and collected
from Plaintiffs and Class members, claims for money owed by Maryland residents
which arose from transactions where the resident the sought or got credit, money,
personal property, real property, or services. Equable owned those claims, which it
acquired after they were in default. Equable knowingly and willfully collected and
solicited payments on these consumer claims when it was not licensed as a collection
agency in Maryland.

45. Equable, Stillman and Lebenbom acted in concert with and confederated
with each other in the actions alleged in this Complaint, engaged in a conspiracy with
each other, and aided and abetted each other’s unlawful activity. Equable
affirmatively and voluntarily undertook to collect from Plaintiff and members of the
Class without a collection agency license in an agreement and understanding with
Stillman and Lebenbom.

46. Equable, Stillman, and Lebenbom had a common design. In particular,
Equable hired and contracted with Stillman and Lebenbom to collect consumer
claims from Plaintiffs and Class members. However, Equable, Stillman and
Lebenbom had a duty to not seek to collect Equable’s claims from Plaintiff and Class
members when Equable did not have the license to act as a collection agency.

Defendants’ unlawful and unlicensed actions caused damages to Plaintiffs and Class

12
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 13 of 29

members, including the charges unlawfully collected from them as a result of
Defendants’ activities, and damages for mental anguish and emotional distress.

47. Unless and until this Court grants the relief Plaintiffs seek through this
action, Defendants will continue their illegal activity, and will retain the proceeds of
their unlawful activities, to the detriment of Plaintiff and the Class.

Class Action Allegations

48. Plaintiffs bring claims on behalf of a Class that consists of:
All Maryland consumers from whom Equable — or Stillman
and/or Lebenbom on Equable’s behalf or purported behalf
— collected or sought to collect money, within three years
prior to the filing of this Complaint.

49. Plaintiffs also bring claims on behalf of a Subclass, which consists of:
All Class members from whom Stillman and/or Lebenbom,
on Equable’s behalf or purported behalf, collected or sought
to collect money, within one year prior to the filing of this
Complaint.

50. Excluded from the Class and Subclass are all employees, officers and
directors of Defendants and any parent or subsidiary companies and predecessors
and successors of Defendants, and all employees of the Court.

51. The Class and Subclass, as defined above, are identifiable. The proposed
Class Representatives are members of the Class and Subclass.

52. The Class and Subclass are so numerous that joinder of all members is
impracticable. The proposed Class and Subclass each consist of more than 40 persons.

53. There are questions of law and fact which are not only common to the Class

and Subclass, but which predominate over any questions affecting only individual

13
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 14 of 29

Class and Subclass members. The common and predominating questions for the
Class and Subclass include, but are not limited to:

(a) Whether Equable acted as a collection agency in its dealings with
Plaintiffs and members of the Class and Subclass;

(b) Whether Equable had the license necessary to act as a collection
agency at the time it collected and sought to collect from Plaintiffs and the members
of the Class and Subclass;

(c) Whether Equable’s collection activities involving Plaintiffs and Class
and Subclass members violated the MCALA;

(d) Whether Plaintiffs and Class and Subclass members are entitled to
a declaratory judgment that Equable must be licensed as a collection agency under

MCALA in connection with its collection activities directed at them;

(e) Whether Equable, Stillman and Lebenbom violated the MCDCA by
collecting and seeking to collect on Equable accounts from Plaintiffs and Class and
Subclass members when Equable was not licensed as a collection agency in Maryland;

(f) Whether the actions of Equable, Stillman, and Lebenbom in their

dealings with the Plaintiffs and Class and Subclass members violated the CPA;

(g) Whether the actions of Equable, Stillman and Lebenbom in their
dealings with the Plaintiffs and Class and Subclass members entitle Plaintiffs and

the Class and Subclass to restitution;

14
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 15 of 29

(h) Whether Equable, Stillman and Lebenbom must restore amounts
collected by them from Plaintiffs and Class and Subclass members on Equable
accounts while Equable was not licensed as a collection agency in Maryland;

(i) Whether Stillman and Lebenbom violated the FDCPA by collecting
and seeking to collect on Equable accounts from Plaintiff and Subclass members
when Equable was not licensed as a collection agency in Maryland;

(j) Whether Stillman and Lebenbom are liable to Plaintiffs and Subclass
members for statutory damages under the FDCPA;

(k) Whether Stillman and Lebenbom are liable to Plaintiffs and Subclass
members for actual damages under the FDCPA; and,

(1) Whether Plaintiffs and Class and Subclass members suffered mental
anguish and emotional distress.

54. The claims of the Plaintiffs are typical of the claims of the respective
members of the Class and Subclass within the meaning of Md. Rule 2-231(b)(8), and
are based on and arise out of similar facts constituting the wrongful conduct of
Defendants.

55. Plaintiffs will fairly and adequately protect the interests of the Class and
Subclass within the meaning of Md. Rule 2-231(b)(4). Plaintiffs are committed to
vigorously litigating this matter. Further, Plaintiffs have secured counsel
experienced in handling consumer class actions and complex consumer litigation.

56. Neither Plaintiffs nor their counsel have any interests which might cause

them not to vigorously pursue this action.

15
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 16 of 29

57. The prosecution of separate actions by individual members of the Class and
Subclass would create a risk of establishing incompatible standards of conduct for
Defendants within the meaning of Md. Rule 2-231(c)(1)(A).

58. Defendants’ actions are generally applicable to the Class and Subclass as
a whole, and Plaintiffs seek declaratory relief with respect to the Class and Subclass
as a whole within the meaning of Md. Rule 2-231(c)(2).

59. Common questions of law and fact enumerated above predominate over
questions affecting only individual members of the Class and Subclass and a class
action is the superior method for fair and efficient adjudication of the controversy
within the meaning of Md. Rule 2-231(c)(8).

60. The likelihood that individual members of the Class and Subclass will
prosecute separate actions is remote due to the time and expense necessary to conduct
such litigation, and due to the relatively small amounts of individual damages for

Class and Subclass members.

61. Plaintiffs’ counsel are experienced in class actions, and foresee little

difficulty in the management of this case as a class action.
Claims for Relief
Count I
Declaratory Judgment
(against all Defendants)

62.Plaintiffs re-allege and incorporates by reference the allegations set

forth above as if fully set forth herein.

16
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 17 of 29

63. This claim for declaratory relief is brought under the DJA § 3-406, to
settle and obtain relief from uncertainty and insecurity with respect to the rights,
status and legal relations regarding Plaintiffs and members of the Class, Subclass,
and Defendants, and under MCALA, Md. Code Ann., Bus. Reg. § 7-101 et seq.

64. Defendants take the position that they were entitled to collect and seek
to collect from Plaintiffs and members of the Class and Subclass on Equable accounts
even though Equable was not licensed as a collection agency under MCALA.

65. Plaintiffs take the position that Equable was required to be licensed as
a collection agency under Md. Code Ann., Bus. Reg. §§ 7-101 at the time Equable,
Stillman, and/or Lebenbom engaged in the activity alleged in this Complaint.

66.Equable, Stillman and Lebenbom take the position that Equable was
not required to be licensed as a collection agency under Md. Code Ann., Bus. Reg. §§
7-101 at the time that they engaged in the activity alleged in this Complaint.

67.Plaintiffs and members of the Class and Subclass have received
collection notices from Defendants demanding payment of amounts on Equable
accounts, despite the fact that Equable is not licensed as a collection agency in
Maryland.

68.This presents an actual, judicable controversy between the parties
relating to the actions by Defendants in their dealings with Plaintiffs and members
of the Class and Subclass, relating to the application of MCALA to those actions, and
relating to the legitimacy of charges assessed as a result of those actions. In

particular, Equable has acted as a collection agency with respect to Plaintiffs and

17
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 18 of 29

Class and Subclass members, and Stillman and Lebenbom have collected and sought
to collect from Plaintiffs and Class and Subclass members on Equable’s behalf, all
while Equable was not licensed as a collection agency under MCALA. Plaintiffs and
members of the Class and Subclass have a right to be free from the unlawful actions
in collection and seeking to collect by and on behalf of an unlicensed collection agency.

69.Plaintiffs are entitled to a declaration that Equable cannot seek to
collect, or collect, from them or Class or Subclass members without a license under
MCALA; and that Stillman and Lebenbom cannot collect, or seek to collect, from
Plaintiffs or Class or Subclass members on Equable’s behalf, while Equable lacks a
license under MCALA.

Count IIT
Violation of the Maryland Consumer Debt Collection Act
(against all Defendants)

70. Plaintiffs re-allege and incorporate by reference the allegations
set forth above as if fully set forth herein.

71. Equable, Stillman, and Lebenbom, at all times relevant to the
actions alleged herein, were each a “collector” within the meaning of section 14-
201(b) of the MCDCA because the alleged debts of Plaintiffs and the Class and
Subclass members which Equable, Stillman and Lebenbom sought to collect from
them through the actions described herein arose from Plaintiffs’ and Class and
Subclass members seeking or acquiring real or personal property, services, money,

or credit for personal, family, or household purposes.

18
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 19 of 29

72. Equable, Stillman, and Lebenbom each violated the MCDCA in
the actions they perpetrated against Plaintiffs and Class and Subclass members.

73. Equable’s acts, alleged in this Complaint, violated the MCDCA

in numerous ways.
74. For example, Equable:

a. violated section 14-202(8) of the MCDCA and claimed,
attempted, or threatened to enforce a right with knowledge that
the right does not exist, when it claimed, attempted, or
threatened to enforce a right to engage in the business of a
collection agency in Maryland without a license, knowing it did
not have a license and that a license was required, and
nevertheless sought to collect and collected consumer claims
from the Plaintiffs and Class and Subclass members;

b. violated section 14-202(10) of the MCDCA and engaged in
unlicensed debt collection activity in violation of the Maryland
Collection Agency Licensing Act when it engaged in the business
of a collection agency in Maryland without a license, and
solicited and collected consumer claims from Plaintiffs and Class
and Subclass members.

75. Stillman and Lebenbom’s acts alleged in this Complaint,

violated the MCDCA in numerous ways.

76. For example, Stillman and Lebenbom:

19
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 20 of 29

a. violated section 14-202(8) of the MCDCA and claimed,
attempted, or threatened to enforce a right with knowledge that
the right does not exist, when they claimed, attempted, or
threatened to enforce a right of Equable to collect money from
Plaintiffs and the Class and Subclass members, and engage in
the business of a collection agency in Maryland without a
license, knowing Equable did not have a license and that a
license was required, and nevertheless sought to collect and
collected consumer claims from the Plaintiffs and Class and
Subclass members on Equable’s behalf;

b. violated section 14-202(10) of the MCDCA and engaged in
unlicensed debt collection activity in violation of the Maryland
Collection Agency Licensing Act when they engaged in collection
activity on behalf of Equable, an unlicensed collection agency;

c. violated section 14-202(11) of the MCDCA when they falsely
represented the character of Plaintiffs’ and Class and Subclass
members’ debts as debts which could be collected by Equable
when Equable was not licensed as a collection agency, in
violation of § 807 of the FDCPA;

d. violated section 14-202(11) of the MCDCA when they threatened
to take action to collect consumer debts from Plaintiffs and Class

and Subclass members allegedly owed to Equable and on behalf

20
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 21 of 29

of Equable, when Equable was not licensed as a collection
agency and could not legally take action to collect those debts
under state law, in violation of § 807 of the FDCPA.
Count JIT
Violation of the Maryland Consumer Protection Act
(against all Defendanis)

77. Plaintiffs re-allege and incorporate by reference the allegations
set forth above as if fully set forth herein.

78. The Maryland Consumer Protection Act (“CPA”) generally
prohibits unfair or deceptive trade practices in, among other things, the collection of
consumer debts. See Md. Code Ann., Com. Law § 13-303(5).

79. The actions of Equable, Stillman and Lebenbom alleged herein
constituted unfair or deceptive trade practices in the collection of consumer debts
from Plaintiffs, Class and Subclass members, as defined by the CPA, and in taking
those actions Equable, Stillman and Lebenbom violated the CPA.

80. Equable’s, Stillman’s, and Lebenbom’s practice of engaging in
the collection activity described in this Complaint, and seeking to collect consumer
debt from Plaintiffs and Class and Subclass members, when Equable was not
licensed or permitted to do so, constituted the failure to state a material fact where
the failure deceives or tends to deceive. Defendants’ method of collection, engaging
in collection activity seeking to collect from Plaintiffs and Class and Subclass

members on Equable accounts, when Equable was not licensed as a collection

21
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 22 of 29

agency, and when Defendants failed to state that Equable was not licensed as
required, and had no authority to collect without a license, constituted the failure to
state a material fact where the failure deceives or tends to deceive.

81. Moreover, the unfair or deceptive trade practices barred by the
CPA specifically include the violation of the MCDCA. See Md. Code Ann., Com. Law
§ 13-301(14)(ii). When Defendants violated the MCDCA as described in this
Complaint, they also violated the CPA.

82. Plaintiffs and Class and Subclass members sustained actual
damages as a result of the actions in violation of the CPA and MCDCA alleged
herein. Plaintiffs and Class and Subclass members were damaged by, among other
things, the amounts collected from them in violation of the law, and by the mental

anguish and emotional distress they suffered.
Count IV
Money Had and Received
(against all Defendants)

83. Plaintiffs re-allege and incorporate by reference the allegations set forth
above as if fully set forth herein.

84. Equable acted as a collection agency in its dealings with Plaintiffs and
members of the Class and Subclass, while it lacked the license required to act as a
collection agency, and Stillman and Lebenbom collected money on Equable’s behalf

from Plaintiffs and members of the Class and Subclass, while Equable was not

licensed as a collection agency.

22
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21. Page 23 of 29

85. These actions of Defendants were and are illegal.

86. Any otherwise existing basis under which Equable, Stillman and Lebenbom
would be entitled to any form of payment or compensation of any kind, are nugatory
and ineffective as Defendants’ collection agency activities in Maryland, by and on
behalf of an unlicensed collection agency, were and are in violation of Maryland law.

87. As a result of Defendants’ actions, Defendants collected money from
Plaintiffs and Class and Subclass members, to which they had no legal or equitable
right.

88. Asa result of the actions alleged above, Defendants obtained possession of
money which, in equity and good conscience, they ought not to be allowed to retain
and should return to Plaintiffs and other Class and Subclass members.

Count V
Negligence
(against all Defendants)

89. Plaintiffs re-allege and incorporate by reference the allegations set forth above
as if fully set forth herein.

90.Defendants each had a duty to Plaintiffs and members of the Class and
Subclass to not collect or seek to collect from them on Equable accounts, while
Equable did not have the license to act as a collection agency required under
Maryland law.

91.The MCALA statute imposed a duty on Defendants to not collect or seek to

collect from Plaintiffs or members of the Class and Subclass on Equable accounts

23
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 24 of 29

while Equable did not have the license to act as a collection agency under MCALA.

92.The MCALA statute was enacted to protect Plaintiffs and the members of the
Class and Subclass; protections which the Defendants undermined through their
illegal actions in seeking to collect on Equable accounts while Equable did not hold
the license required under MCALA.

93. Defendants each breached duties of care to Plaintiffs and members of the Class
and Subclass when collecting and seeking to collect amounts from Plaintiffs and
members of the Class and Subclass, on Equable accounts, while Equable was not
licensed as a collection agency under MCALA.

94. Plaintiffs and members of the Class and Subclass have suffered actual losses
and damages as the result of the conduct of Defendants in breach of their duties.
Among other things, Plaintiffs and members of the Class and Subclass have been
assessed and forced to pay money which Defendants were legally precluded from
collecting from them. In addition, Plaintiffs and Class and Subclass members have
suffered mental anguish and emotional distress. These damages, losses and injuries
were proximately caused by the Defendants’ breaches of duty, as Plaintiffs and Class
and Subclass members would not have paid the money Defendants collected from
them on Equable accounts absent Defendants’ breaches of duty.

Count VI
Unjust Enrichment
(against all Defendants)

95. Plaintiffs re-allege and incorporate by reference the allegations set forth above

24
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 25 of 29

as if fully set forth herein.

96. Plaintiffs and members of the Class and Subclass conferred a benefit upon each
of the Defendants by paying amounts which the Defendants collected from them on
Equable accounts, while Equable was not licensed as a collection agency under
MCALA.

97. Each of the Defendants knew of the benefits conferred upon them by Plaintiffs
and the members of the Class and Subclass. Defendants affirmatively demanded that
Plaintiffs and members of the Class and Subclass pay amounts to them on Equable
accounts, while Equable was not licensed as a collection agency under MCALA.

98.It would be inequitable for Defendants to retain the amounts that they have
received in connection with the collection activity directed to Plaintiffs and Class and
Subclass members while Equable was unlicensed under MCALA, as those amounts
were paid to Defendants as a result of their unlawful activity described in this
Complaint, and could not legally be collected by Defendants.

Count VII
Violation of the Fair Debt Collection Practices Act
(against Defendants SPC, SLO and Lebenbom only)
99. Plaintiffs re-allege and incorporate by reference the allegations
set forth above as if fully set forth herein.
100. Stillman and Lebenbom, at all times relevant to the actions
alleged herein, were “debt collectors” within the meaning of section 15 U.S.C.A.

§1692a(6) of the FDCPA because Stillman and Lebenbom used instrumentalities of

25
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 26 of 29

interstate commerce and the mails in their business, the principal purpose of which
is the collection of any debts, and Stillman and Lebenbom regularly collect or
attempt to collect, directly or indirectly, debts owed or due or asserted to be owed or
due another.

101. In collecting and attempting to collect from Plaintiffs and
members of the Subclass, Stillman and Lebenbom violated the FDCPA.

102. For example, Stillman and Lebenbom:

a. falsely represented the character of Plaintiffs’ and Subclass
members’ debts as debts which could be collected by Equable
when Equable was not licensed as a collection agency, in
violation of § 807 of the FDCPA;

b. threatened to take action to collect consumer debts from
Plaintiffs and Subclass members allegedly owed to Equable and
on behalf of Equable, when Equable was not licensed as a
collection agency and could not legally take action to collect
those debts under state law, in violation of § 807 of the FDCPA.

103. The foregoing acts and omissions of Stillman and Lebenbom
constitute numerous and multiple and continuing violations of the FDCPA
including, but not limited to, each and every one of the above-cited provisions of the
FDCPA, 15 U.S.C. § 1692 et seq., with respect to Plaintiffs and Subclass members.

104. As a result of Stillman and Lebenbom’s violations of the FDCPA,

the named Plaintiffs are each entitled to actual damages pursuant to 15 U.S.C. §

26
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 27 of 29

1692k(a)(1); statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C.

§ 1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15 U.S.C. §

1692k(a)(8), from Stillman and Lebenbom. In addition, Stillman and Lebenbom are

liable for such amount as the court may allow for all other Subclass members,

pursuant to 15 U.S.C.A. § 1692k(a)(2)(B).

A.

WHEREFORE, Plaintiffs demand:

a declaratory judgment under Md. Cts. & Jud. Pro. § 3-406 that Equable
cannot seek to collect, or collect, from Plaintiffs or Class members
without a license under MCALA; and that Stillman and Lebenbom
cannot collect, or seek to collect, from Plaintiffs or Class members on
Equable’s behalf, while Equable lacks a license under MCALA;
recovery from all Defendants in an aggregated sum in excess of
$75,000.00 for the proposed Class and Subclass as a whole of 1) all
amounts paid by Class and Subclass members in connection with the
collection activities of Defendants alleged in this Complaint; 2)
disgorgement and restitution of all benefits received by Defendants in
connection with the activities alleged in this Complaint; 3)
compensatory damages, including damages for mental anguish and
emotional distress; and, 4) reasonable attorney’s fees and the costs of
this action;

recovery from from Stillman and Lebenbom in an aggregated sum in

excess of $75,000.00 for the proposed Class and Subclass as a whole of:

27
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 28 of 29

1) actual damages pursuant to 15 U.S.C. § 1692k(a)(1) for each Plaintiff
and Subclass member; 2) statutory damages for each named Plaintiff in
the amount of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); 3) such
amount as the court may allow for all other Subclass members, pursuant
to 15 U.S.C.A. § 1692k(a)(2)(B); and, 4) reasonable attorney’s fees and

costs pursuant to 15 U.S.C. § 1692k(a)(3); and,

such other and further relief as the nature of this case may require.

Respectfully submitted, vo )

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Qa SLY

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28
Case 8:21-cv-02813-TDC Document 2 Filed 11/03/21 Page 29 of 29

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29
